          Case 1:21-cr-02032-SMJ   ECF No. 19   filed 09/14/21   PageID.52 Page 1 of 2




 1   Nick Mirr
     Federal Defenders of Eastern Washington & Idaho
 2   306 E. Chestnut Ave.
     Yakima, WA 98901
 3   (509) 248-8920
 4
     Attorney for Defendant
 5   Thomas Alex Morrison, Jr.

 6
 7
                        UNITED STATES DISTRICT COURT
 8                     EASTERN DISTRICT OF WASHINGTON
                         The Honorable Salvador Mendoza, Jr.
 9
10   United States of America,
11                                 Plaintiff,        No. 1:21-CR-2032-SMJ
12
             v.                                      Notice of Appearance
13
     Thomas Alex Morrison, Jr.,
14
                               Defendant.
15
16
             Please take notice that Nick Mirr of the Federal Defenders of
17
     Eastern Washington and Idaho hereby enters his appearance as
18
19   additional counsel of record in this matter. All future correspondence and
20
     court filings should be forwarded directly to the address listed above.
21
     //
22
23
24
     Dated: September 14, 2021.
25

     Notice of Appearance: 1
       Case 1:21-cr-02032-SMJ   ECF No. 19   filed 09/14/21   PageID.53 Page 2 of 2




 1
 2                                           By s/ Nick Mirr
 3                                             Nick Mirr, AT0014467
                                               Attorney for Thomas Alex
 4                                             Morrison, Jr.
                                               Federal Defenders of Eastern
 5                                             Washington and Idaho
                                               306 East Chestnut Avenue
 6                                             Yakima, Washington 98901
                                               (509) 248-8920
 7                                             (509) 248-9118 fax
 8                                             Nick_Mirr@fd.org

 9
                                Certificate of Service
10
11         I hereby certify that on September 14, 2021, I electronically filed
12   the foregoing with the Clerk of the Court using the CM/ECF System
13   which will send notification of such filing to the following: Michael D.
14   Murphy, Assistant United States Attorney.

15
                                             s/ Nick Mirr
16                                           Nick Mirr
17
18
19
20
21
22
23
24
25

     Notice of Appearance: 2
